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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

ROBERT D. MORRISON,                   )
                                      )
                   Plaintiff,         )
                                      )       Case No. 1:21-cv-00293
      v.                              )
                                      )
JOSHUA J. ANDERSON and                )
HANGING J. TRANSPORT,                 )
                                      )
                   Defendants.        )

                                NOTICE OF REMOVAL

      Defendants, Joshua J. Anderson and Hanging J. Transport, by counsel

and pursuant to 28 U.S.C. §1332 hereby file their Notice of Removal of the

captioned matter to the United States District Court for the Southern District of

Indiana, Indianapolis Division, from the Marion Superior Court 1, Indianapolis,

Indiana, and respectfully state as follows:

      1.    Joshua J. Anderson and Hanging J. Transport are defendants in a

personal injury action now pending in the Marion County Superior Court 1

under Cause No. 49D01-2101-CT-001827.

      2.    Plaintiff filed his Complaint in the Marion Superior Court 1 on

January 19, 2021.

      3.    Hanging J. Transport was served with a copy of Plaintiff’s Complaint

and Summons via certified mail on January 28, 2021.

      4.    Defendant, Joshua J. Anderson, has not yet been served with a copy

of the Plaintiff’s Complaint and Summons.
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      5.     Plaintiff’s Complaint is subject to removal on the grounds of diversity

jurisdiction pursuant to 28 U.S.C. §1332.

      6.     Plaintiff is a citizen of the State of Indiana.

      7.     Defendant Joshua J. Anderson is a citizen of the state of Colorado.

      8.     Defendant Hanging J. Transport is a sole proprietorship and its sole

proprietor is Joshua J. Anderson. As such, Hanging J. Transport is a citizen of

Colorado.

      9.     The controversy in this cause of action is entirely between citizens

of different states.

      10.    While Plaintiff’s Complaint seeks an unspecified amount of

damages, Plaintiff’s only settlement demand has been for Defendants’ insurance

policy limits of $1 million. Therefore, the amount in controversy exclusive of

interest and costs is greater than $75,000, the jurisdictional threshold required

by 28 U.S.C. §1332(a).

      11.    Attached hereto as Exhibit A is a copy of the Plaintiff’s Complaint

and Demand for Jury Trial, Appearance of Attorney Kaitlin Coons Astorino for

Plaintiff, Summons to Hanging J. Transport, Summons to Joshua J. Anderson,

Appearance of Christopher R. Whitten and James L. Culp for Defendants, Motion

for Enlargement of Time and Order Granting Defendants’ Motion for

Enlargement of Time.      These documents constitute all of the pleadings and

process on file with the Marion Superior Court 1 as of the date of this filing of

this Notice of Removal.




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      12.   Upon receiving a file-marked copy of this Notice of Removal,

Defendants will serve the same upon Plaintiff and also file a copy with the Clerk

of the Marion Superior Court 1.

                                       Respectfully submitted,

                                       WHITTEN LAW OFFICE


                                        s/Christopher R. Whitten
                                        Christopher R. Whitten/#20429-49
                                        James L. Culp/#26326-49
                                        Counsel for Defendants

                          CERTIFICATE OF SERVICE

      I hereby certify that on February 4, 2021, a copy of the foregoing was filed

electronically. Parties may access this filing through the Court’s system.

      Kaitlin Coons Astorino, Esq.
      ISAACS & ISAACS, P.S.C.
      1601 Business Center Court
      Louisville, KY 40299-2370
      kaitlin@isaacsandisaacs.com
      Counsel for Plaintiff



                                     s/Christopher R. Whitten
                                     Christopher R. Whitten

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